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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
                                             §
  IOENGINE, LLC,                             §
  Plaintiff/Counterclaim Defendant,          §
                                             § C.A. No. 18-452-WCB
                                             §
  v.                                         §
                                             § JURY TRIAL DEMANDED
                                             §
  PAYPAL HOLDINGS, INC.,                     § Original Version: December 21, 2021
                                             § Public Version: December 28, 2021
  Defendant/Counterclaim Plaintiff.          §
                                             §
                                             §

       IOENGINE, LLC’S ANSWERING BRIEF IN OPPOSITION TO PAYPAL’S
                   MOTION FOR SPOLIATION SANCTIONS

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  Dated: December 21, 2021
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 I.     INTRODUCTION

        PayPal spins a spoliation motion out of inference, supposition and unproven allegations of

 inequitable conduct. But IOENGINE took reasonable steps to preserve the MediKey, which went

 missing after an unforeseeable series of occurrences involving a fallen 100-year old tree that

 damaged electrical equipment and resulted in two small fires, rather than any intentional

 misconduct. Moreover, PayPal can neither prove “bad faith” nor prejudice: IOENGINE preserved

 and produced voluminous data regarding the MediKey and there is nothing useful that could be

 gleaned from a copy of medikey.exe on its own. PayPal’s Motion must be denied.

 II.    STATEMENT OF FACTS

        A.      IOENGINE Took Reasonable Steps to Preserve the MediKey

        Mr. McNulty kept his prototypes in his private home workspace without issue for more

 than a decade, from the time they were developed until 2015. See McNulty Decl. ¶¶ 2–3. During

 the course of two previous patent cases by IOENGINE, Mr. McNulty transferred the prototypes,

 including the now-unavailable MediKey device, to IOENGINE’s counsel. See, e.g., Ex. 12, at 9.1

 In Summer 2018, IOENGINE’s lead counsel changed law firms and offices. See Ex. A; Chuebon

 Decl., ¶2. When Mr. McNulty learned of counsel’s impending move, he retrieved the prototypes

 so they would not be lost during counsel’s move. See Ex. B (IOENGINE 30(b)(6) Tr.), 121:17-

 122:11. At that time, he inventoried the prototypes, including the MediKey and two other devices

 that are now missing. See id., 122:19-125:15. He then placed the box from counsel containing the

 devices on a shelf in the same home workspace where the devices had previously been kept, which

 is generally locked and not accessed by others, and contains air filtration and humidity controls.

 See id., 128:2-129:2; McNulty Decl. ¶ 2. Mr. McNulty could not have foreseen the subsequent


 1
  Exhibit number citation are to the Blumenfeld Decl., D.I. 368. Exhibit letter citations are to the
 Chuebon Decl. filed herewith. “McNulty Decl.” refers to the McNulty Declaration filed herewith.
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 events that led to two small fires in his home, after which he determined that three prototypes,

 including the MediKey, were missing.

        B.      A Fallen Pine Tree Fell and Damaged Electrical Utility Equipment

        Early on August 7, 2018, a large pine tree on the McNultys’ property fell, as seen in

 dramatic Ring Doorbell footage. See Ex. C; see also, Ex. D (L. McNulty Tr.), 49:10-24; Ex. E (S.

 McNulty Tr.), 280:16-24 (“[T]his giant 100-year-old beautiful pine tree on our property fell at 3

 o’clock in the morning.”). The falling tree damaged equipment on the utility pole and knocked

 down electrical lines. See id.; see also Ex. D, 54:3-7; Ex. F (photographs).

        Later that day, both Eversource (the electric utility) and the Norwalk Fire Department 2

 responded, removing the fallen tree and checking the McNulty home, which was experiencing

 power fluctuations. See, e.g., Ex. G (downed tree and Eversource truck, 8:06 am); Ex. H (Norwalk

 Fire Dept., 10:53 am); see also Ex. I, 801 (“A large pine tree just fell on our property and knocked

 down the wires. Power seems to be going off and on.”). After completing their work, Eversource

 and the Norwalk Fire Department assured the McNultys that the situation had been resolved. See,

 e.g., Ex. D, 50:6-21, 51:8-13; Ex. E, 281:12-18.

        C.      Unresolved Utility Issues Led to an Unforeseeable Fire on August 15, 2021

        On August 15th the McNultys began to experience a “dimming” of the lights in their home.

 Ex. E, 281:19-24. Two neighbors also reported problems on August 15th. See, e.g., Ex. J at 1

 (Eversource claim by 16 Ensign Rd. referencing Aug. 15th “power surge on the street”), 3 (“The

 problem was … at several neighbors[’] [houses] as well.”); Ex. K (Carlson Ex. 7) (Rowayton FD

 records) (“Neighbor [at] 17 Ensign had surge also.”); Ex. L (Carlson Tr.), 42:25-43:6. Mrs.

 McNulty was in the shower when the electrical disturbance started a fire in the basement. See Ex.


 2
  PayPal failed to pursue discovery from the Norwalk Fire Dept., despite sending them a letter
 asking for records. Instead, PayPal pursued discovery only from the Rowayton Fire Dept.
                                                    2
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 D (L. McNulty Tr.), 57:4-12 (the “[l]ights started flashing and continued to flash rapidly, then

 went out with, like, a snapping noise. There was a burning smell.”). She smelled smoke and called

 the Rowayton Fire Department. See id., 57:20-23.

                1.      Rowayton FD Removed Items from Mr. McNulty’s Workspace

        There is no question that there was a fire in the McNulty home on August 15, 2018, and

 that the Rowayton Fire Department (“Rowayton FD”) responded. See, e.g., Ex. D (L. McNulty

 Tr.), 60:14-22; 61:2-9; 65:6-22; Ex. K (Rowayton FD records). Rowayton FD responded with two

 vehicles and three personnel. See Ex. K (“Engine 2” and “Car 3”; “personnel responding[:] 3”);

 Ex. M (Rowayton FD records), G1 (two “Apparatus”; three “Personnel”).

 There is also no question that the Rowayton FD removed items from Mr. McNulty’s workspace

 that day—Mr. Carlson, Rowayton FD Chief, admitted as much: “[T]wo power strips that had

 melted due to a power surge from the utility on the street, so we disconnected the power strips and

 removed them.” Ex. L, 28:13-18; see also Ex. D, 61:12-21 (“I remember [the firefighter] wanted

 to take items with him that had burnt … I said, Yes.”). PayPal proffers that Mr. Carlson testified

 to removing only two power strips. See Ex. L, 28:11-17. But Mr. Carlson also testified that any

 removed items would have been documented, see id., 35:3-13, and no documentation was

 completed—not even for the power strips he personally removed. See id., 43:15-44:1, 49:23-50:6.

 Moreover, there were two other firefighters on scene, see Ex. K (“personnel responding[:] 3”); Ex.

 M, G1 (three personnel), but Mr. Carlson did not ask the third firefighter if he had removed

 anything. See Ex. L, 50:22-51:2. 3 Further, removal of items may have been inadvertent—a small

 USB device could easily have been inside a damaged box or knocked into a disposal bag without


 3
   In fact, Mr. Carlson wasn’t sure who the third firefighter was. See Ex. L, 42:6-14. On cross
 examination Mr. Carlson guessed the third firefighter may been “somebody that showed up at the
 firehouse” after the fire. See id. But that contradicts the handwritten incident report, which shows
 three personnel “responding” to 22 Ensign Road that day. Id., 25:21-25; Ex. K., 61:25-62:6.
                                                  3
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 the firemen realizing it. Thus, other items may well have been removed (intentionally or

 inadvertently) by the Rowayton FD that day.

                2.      Eversource Responded, Assuring That There Were No Utility Issues

        Eversource also responded on August 15th, which is evidenced by correspondence between

 Mr. McNulty and his electrician. Ex. I, 806. Mr. McNulty’s electrician assured him that his home

 wiring had no issues. See id., 807. The electrician also recalled that he or one of his assistants

 may have moved boxes from the workspace in the area of the fire. See Ex. 30, at 12. His HVAC

 technician also responded. See Ex. I, at 4. Having been assured by Eversource and his electrician,

 Mr. McNulty expected no further issues.

        D.      Unresolved Utility Issues Led to Another Fire on September 23, 2021

        The McNultys again began to experience “dimming” of their lights on September 23, 2021,

 which was captured on video. See Ex. O; Ex. P. Again, the issues affected neighbors and were not

 confined to the McNulty home. See Ex. J (Eversource claim by 16 Ensign Rd. referencing “a power

 surge on the street” that “occurred again on 9/23/18 with damage to [appliances]”). 4 The electrical

 disturbance of September 23rd led to a power surge and second fire, evidenced by photographs of

 additional burned surge protectors on September 23, 2021 (distinct from those removed by

 Rowayton FD on August 15th). See Ex. Q. On September 23rd Eversource finally located and

 addressed the root of the problems—a hot wire rubbing against a casing. Ex. E (S. McNulty Tr.),

 283:16-284:5; see also Ex. R (picture of damaged utility line, 9/23/18 at 8:27pm).




 4
   Eversource eventually accepted responsibility for these power disturbances. In response to a
 claim by one neighbor at 16 Ensign Road, after stating that Eversource “will pay damage claims
 only when there is clear evidence that there was negligence on our part,” Eversource paid nearly
 $3,000 in damages. See Ex. J, 2, 4.
                                                  4
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        E.      IOENGINE Discovered the MediKey Is Missing

        On August 20, 2018 (five days after the first fire), PayPal served its First Set of Requests

 for Production (“First RFPs”), which were extremely broad, demanding “[a]ll documents and

 things” related to each of 89 separate requests. See Ex. S. IOENGINE timely responded, offering

 to produce documents in response to many requests, and to meet and confer on others. See Ex. T.

 On Requests 41 and 42, IOENGINE offered an inspection of IOENGINE’s prototypes, including

 the MediKey, subject to an appropriate inspection protocol. See id., 4-5, 49. IOENGINE then

 engaged with PayPal on its various Requests, of which Requests 41 and 42 were mentioned by

 PayPal only in passing and primarily with regard to documents. See, e.g., Ex. 21, 1; Ex. 25, 4.

 PayPal did not follow up on an inspection protocol for a MediKey inspection until July 2019.

 Importantly, no inequitable conduct or invalidity allegations were pleaded at the time of PayPal’s

 First RFPs. PayPal did not even answer the complaint until February 8, 2019, see D.I. 52, which

 is the first time PayPal alleged inequitable conduct. See id. at 32-38. IOENGINE moved to dismiss

 PayPal’s counterclaims, see D.I. 59, and that motion was not resolved until May 15, 2019. See

 D.I. 70. Similarly, PayPal did not serve invalidity contentions until April 5, 2019. See D.I. 63.

 See, e.g., Alexsam, Inc. v. Gap, Inc., 621 F. App’x 983, 991–92 (Fed. Cir. 2015) (only “[w]hen a

 defendant has established a prior invention” does “the burden of production shift[] to the patentee

 to come forward with evidence and argument to the contrary”). PayPal’s attempt to dismiss this as

 a mere “technicality,” Mot. at 6, misquotes the Court, which was urging the parties to begin “flick

 of a switch type discovery.” Ex. 26, 94:3-19. As for the fact that PayPal had not yet pleaded

 invalidity or unenforceability at the time of its First RFPs, the Court recognized that “technicalities

 matter in the law.” Id., 94:4-5. And so until at least March, 2019, IOENGINE was focused on

 producing documents relevant to pleaded allegations.



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        IOENGINE made several productions before PayPal answered, producing over 9,000

 pages of documents. Mr. McNulty and IOENGINE worked to gather additional information

 requested by PayPal, and it was Mr. McNulty’s efforts to gather his prototypes for inspection that

 led him to retrieve them from his workspace on March 6, 2019. See Ex. B, at 130:15-131:10. At

 that time, Mr. McNulty noticed that the box containing the devices was not the same. Rather than

 the clean, white box he had received from counsel, it was an older, worn box, like one of the

 “empty legal boxes stacked up in [his] basement.” Ex. B, 175:21-176:15, 167:23-168:3; Ex. E,

 263:9-266-19. It was only then that, based on their distinctive physical appearance, Mr. McNulty

 noticed the MediKey and another device were missing. See id., 271:19-272:9. Mr. McNulty

 immediately began searching for the missing devices. See Ex. 30, at 11-13; Ex. E, 267:25-268:5,

 271:19-272:9. The prototypes were inventoried and it was discovered that a third device, which

 closely resembled several other devices, was also missing. See id. 268:6-269:8, 271:1-272:9. Mr.

 McNulty continued to search for the MediKey into May, including thoroughly searching his

 workspace and home, speaking with family members, the Chief of Rowayton FD, electricians,

 HVAC professionals, neighbors, and Eversource representatives, and visiting two recycling

 centers (at Rowayton FD’s suggestion) but was unable to locate it. See Ex. 30, at 11-13.

 III.   LEGAL STANDARDS

        As the party alleging spoliation, PayPal bears the burden of proving “(1) the evidence was

 within the alleged spoliator’s control; (2) there has been actual suppression or withholding of the

 evidence; (3) the evidence was relevant; and (4) it was reasonably foreseeable that the evidence

 would be discoverable.” State Farm Fire & Cas. Co. v. Cohen, 19-1947, 2020 WL 5369626, at *6

 (E.D. Pa. Sept. 08, 2020) (citing Bull v. United Parcel Serv., Inc., 665 F.3d 68 (3d Cir. 2012)).

 As a threshold matter, Rule 37(e) does not govern this motion. PayPal frames its Motion as relating

 to destruction of “ESI,”—the medikey.exe software—but PayPal’s complaint is predicated on the
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 loss of the physical MediKey device, not ESI. Rule 37(e) does not apply to loss of tangible,

 physical items like the MediKey. “Sanctions for spoliation are determined under two different

 rubrics depending on the type of evidence. ESI is governed by the recently amended Fed. R. Civ.

 P. 37(e). Sanctions for all other types of evidence continue to be governed by the court’s inherent

 authority ‘to control litigation and assure the fairness of proceedings before it.’” Air Prod. &

 Chems., Inc. v. Wiesemann, 14-1425-SLR, 2017 WL 758417, at *1 (D. Del. Feb. 27, 2017);

 CIGNEX Datamatics, Inc. v. Lam Rsch. Corp., 17-320 (MN), 2019 WL 1118099, at *2 n.3 (D.

 Del. Mar. 11, 2019) (“By its terms, Rule 37(e) applies only to electronically stored information.

 When other forms of information are at issue (e.g., physical evidence, paper documents, etc.), the

 spoliation analysis follows the framework set forth in Bull.”); see Charles v. City of New York, 12-

 6180 (SLT) (SMG), 2017 WL 530460, at *25-26 (E.D.N.Y. Feb. 7, 2017) (applying traditional

 analysis, not Rule 37(e) to missing cell phone containing video).

        Under either rubric, however, PayPal must ultimately prove that IOENGINE acted with

 “intentionality and bad faith” to support adverse inference sanctions. State Farm, 2020 WL

 5369626, at *6 (“To satisfy the ‘actual suppression or withholding’ element, the movant must

 demonstrate that the alleged spoliation was intentional—not accidental, inadvertent, or properly

 explainable.”) (citing Bull, 665 F.3d at 78-79 (“[A] finding of bad faith is pivotal to a spoliation

 determination.”); Accurso v. Infra-Red Servs., Inc., 2016 WL 930686, at *3 n.6 (E.D. Pa. Mar. 11,

 2016) (amendment of Rule 37(e) “does not appear to have substantively altered the moving party’s

 burden, in this Circuit, of showing that ESI was destroyed in ‘bad faith’ when requesting an adverse

 inference.”); Orologio of Short Hills Inc v. The Swatch Grp. (U.S.) Inc., 653 F. App’x 134, 144–

 45 (3d Cir. 2016) (“Spoliation of evidence requires ‘bad faith,’ not mere negligence.”); Plouffe v.

 Cevallos, 777 F. App’x 594, 602 (3d Cir. 2019) (“[S]poliation is only an issue if the ‘destruction



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 [of evidence] was intentional.’”); St. Clair Intell. Prop. Consultants, Inc. v. Toshiba Corp., 09-

 354-LPS, 2014 WL 4253259, at *3–5 (D. Del. Aug. 27, 2014) (no spoliation where no proof that

 “destruction of the boxes of information was due to anything worse than ‘inadvertence, negligence,

 inexplicable foolishness, or part of the normal activities of business or daily living.”); Bozic v. City

 of Washington, Pa., 912 F. Supp. 2d 257, 268–70 (W.D. Pa. 2012) (“Almost all of the district court

 cases applying Bull of which this Court is aware have declined to find spoliation where the party’s

 conduct was no worse than negligent, or where the evidence was lost in the normal course of daily

 business or other similar activity.”).

 IV.     ARGUMENT

         A.      IOENGINE Took Reasonable Steps to Preserve the MediKey

         The MediKey device is a tangible, physical item, not ESI. Regardless, to meet its burden,

 PayPal must show that evidence was “lost because a party failed to take reasonable steps to

 preserve it.” FRCP 37(e). PayPal has not done so.

         Far from being “inexplicabl[e]” as PayPal contends, Mot. at 1, Mr. McNulty retrieved the

 prototypes because counsel was in the process of changing firms and offices. At that time, he

 accounted for the devices, including the MediKey. See Ex. B, 122:19-125:15. He then returned

 the devices to his private, home workspace, see id., 128:2-129:2, which is locked, not routinely

 accessed by others, and is where the Medikey and other prototypes had been kept for more than a

 decade without incident. See supra § II.A. Mr. McNulty’s preservation efforts were reasonable,

 particularly in light of his status as an independent inventor and IOENGINE’s status as a one-

 person company. See, e.g., Bozic, 912 F. Supp. 2d at 268–70 (“[D]eclin[ing] to find spoliation

 where the party’s conduct was no worse than negligent, or where the evidence was lost in the

 normal course of daily business or other similar activity.”); St. Clair, 2014 WL 4253259, at *3–5;

 Fed. R. Civ. P. 37, 2015 Committee Notes (“‘[R]easonable steps’ to preserve suffice; it does not

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 call for perfection. The court should be sensitive to the party’s sophistication with regard to

 litigation in evaluating preservation efforts”).

        PayPal repeatedly faults IOENGINE for not “backing up” the medikey.exe software. But

 all of PayPal’s cited cases involve ESI that is trivial to copy, with no risk of damage to a fragile,

 prototype device. See Manning v. Safelite Fulfillment, Inc., 17-2824 (RMB/MJS), 2021 WL

 3557582, at *7 (D.N.J. Apr. 29, 2021) (addressing emails and Facebook messages); Cognex Corp.

 v. Microscan Sys., Inc., 990 F. Supp. 2d 408, 420 (S.D.N.Y. 2013) (copying a CD). Backing up

 the medikey.exe software was not reasonable under the circumstances here, because, unlike

 downloading an email or Facebook message, plugging in the MediKey carries an inherent risk of

 damaging or destroying the device—a risk PayPal has acknowledged. 5 If IOENGINE had

 attempted a backup outside of PayPal’s purview, and the MediKey had been damaged or

 destroyed, PayPal would have then accused IOENGINE of spoliation for attempting the backup.

 Instead, IOENGINE offered to make the MediKey and its other prototypes available for inspection

 under the supervision of representatives of both parties. Ex. T, 4-5. This is exactly the practice

 followed in prior litigations, see, e.g., Ex 6, and none of the parties or experts in those cases—

 including PayPal’s retained expert here, Dr. Madisetti (see Ex. U)—thought it necessary or

 reasonable to “back up” or copy the medikey.exe software. Instead, as discussed in more detail

 below, the parties preserved videos and screenshots of the MediKey and captured communications

 into and out of the device, which documents all of the functions of the MediKey and medikey.exe

 software.   See, e.g., Exs. 4 and V-X (videos of tests); Ex. Y, 79-112, 120-202, 208-246;

 IOENGINE009245; -246; -404; -406; and -408 (217 MB of captured USB communications).




 5
  See, e.g., D.I. 321, at 2-3 (PayPal acknowledging that devices circa 2004 are “particularly fragile,
 and subject to irreparable physical and electrical damage.”).
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        B.      Events Outside of IOENGINE’s Control Explain Loss of the MediKey

        Events that IOENGINE could not possibly have predicted or controlled explain loss of the

 MediKey. The critical facts are evidenced by contemporaneous photographs and correspondence.

 On August 7, 2018, a large pine tree fell, severing power lines to the McNulty home and damaging

 utility equipment. Supra § II.B. Latent issues with the utility equipment caused a fire in Mr.

 McNulty’s workspace on August 15, 2018. Firefighters, Eversource, electricians, and HVAC

 technicians were on site, and the Rowayton FD removed items from Mr. McNulty’s workspace.

 See supra §§ II.C.1, II.E. Electrical issues caused a second fire on September 23, 2018, again

 affecting neighbors as well. Electricians and Eversource again accessed McNulty’s workspace.

 One electrician recalled that he or his assistant may have moved boxes. See supra § II.C.2.

 The situation here is analogous to those described in the Rule 37(e) 2015 Committee Notes as

 “inapplicable” to spoliation: “[I]nformation the party has preserved may be destroyed by events

 outside the party’s control—the computer room may be flooded, a ‘cloud’ service may fail, a

 malign software attack may disrupt a storage system, and so on.” Fed. R. Civ. P. 37, 2015

 Committee Notes; see also Bozic, 912 F. Supp. 2d at 270; St. Clair, 2014 WL 4253259, at *3–5.

        C.      PayPal Cannot Prove Bad Faith, Intentional Destruction of Evidence

        On the above record, PayPal cannot prove the “bad faith” culpable intent necessary to

 support spoliation. “[D]istrict courts within the Third Circuit have routinely distinguished between

 situations where ‘the spoliation or destruction [of evidence] was intentional, and indicates fraud

 and a desire to suppress the truth,’ and those where ‘the document or article in question has been

 lost or accidentally destroyed….’” Taylor v. Nepolean, 20-01450-PLD, 2021 WL 4171423, at *4

 (W.D. Pa. Sept. 14, 2021) (quoting Charcalla v. Goodyear Tire & Rubber Co., 13-204, 2017 WL

 2720278, at *3 (W.D. Pa. Jun. 23, 2017)).



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        PayPal cannot present a shred of evidence that Mr. McNulty or IOENGINE destroyed the

 MediKey. That alone separates this case from all the cases PayPal cites, where there is no question

 that the party accused of spoliation actually destroyed evidence. See, e.g., GN Netcom, Inc. v.

 Plantronics, Inc., 12-1318-LPS, 2016 WL 3792833, at *7–8 (D. Del. July 12, 2016) (“instructing

 others to delete … email chains”); Folino v. Hines, 17-1584, 2018 WL 5982448, at *3–4 (W.D.

 Pa. Nov. 14, 2018) (“destruction of data was intentionally performed”); First Sr. Fin. Grp. LLC v.

 Watchdog, 12-1247, 2014 WL 1327584, at *8–*9 (E.D. Pa. Apr. 3, 2014) (“wiping clean” a

 computer); Micron Tech., Inc. v. Rambus Inc., 255 F.R.D. 135, 150 (D. Del. 2009), aff’d in part,

 vacated in part, 645 F.3d 1311, 1317 (Fed. Cir. 2011) (destroying thousands of backup tapes and

 documents while “instruct[ing] employees to look for helpful documents to keep”); Miller v.

 Thompson-Walk, 15-1605, 2019 WL 2150660, at *5, *13 (W.D. Pa. May 17, 2019) (allowing

 emails to be deleted and computers disposed, and fabricating meeting minutes); Manning, 2021

 WL 3557582, at *7 (“delet[ing] the emails and messages.”). Instead, PayPal asks the Court to

 circumstantially infer not only bad faith, but intentional destruction of evidence, from a series of

 speculative suppositions, none of which support or even permit such an inference.

        First, PayPal’s contention that IOENGINE had a “motive” to destroy the MediKey

 assumes that the MediKey would have been unfavorable to IOENGINE. This assumption is both

 unsupported and impermissible. An inference that evidence would have been unfavorable is not

 permitted unless bad faith has been proven. See FRCP 37(e)(2) (“only upon finding that the party

 acted with the intent to deprive another party of the information’s use in the litigation may [the

 court]: (A) presume that the lost information was unfavorable to the party”); see also Fed. R. Civ.

 P. 37, 2015 Committee Notes (“Information lost through negligence may have been favorable to

 either party, including the party that lost it, and inferring that it was unfavorable to that party may



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 tip the balance at trial in ways the lost information never would have.”); Brewer v. Quaker State

 Oil Ref. Corp., 72 F.3d 326, 334 (3d Cir. 1995) (“No unfavorable inference arises when the

 circumstances indicate that the document or article in question has been lost or accidentally

 destroyed, or where the failure to produce it is otherwise properly accounted for.”).

        PayPal’s assumption flips the spoliation analysis on its head and is contrary to Rule 37(e)

 and the law of this Circuit. It is also contrary to the available evidence from the MediKey tests in

 the Imation case, which, when properly run, established that the MediKey functioned as described

 in the April 2010 Declaration. See Ex. Y ¶21 (“Dr. Madisetti accuses Mr. McNulty of misleading

 the U.S. Patent and Trademark Office about the capabilities of the MediKey Prototype . . . I find

 this conclusion by Dr. Madisetti to be baseless.”).

        As for “opportunity,” PayPal accuses Mr. McNulty of “speculat[ing]” that a firefighter or

 Eversource representative may have taken the MediKey, without “evidence.” Mot. at 14. But as

 discussed above, there is no question that firefighters, Eversource personnel, and electricians were

 in Mr. McNulty’s workspace, that firefighters removed at least some items, and that an electrician

 recalled moving boxes. See supra § II.C. It is PayPal that speculates with absolutely no evidence

 that after having preserved the MediKey for years, including having it inspected and tested in the

 Imation case, Mr. McNulty “disposed of” the MediKey, simply because he could have.

        Second, PayPal’s assertion that the timing of the loss of the MediKey “is indicative of bad

 faith,” Mot. at 14, is baseless. Unlike the cases PayPal cites, there is no evidence that Mr. McNulty

 took any affirmative action (or inaction) around the time of PayPal’s RFPs. No bad faith can be

 inferred from an act of God causing a tree to fall on August 7th, or from a resultant fire on August

 15th, simply because they are days before PayPal’s RFPs were served on August 20th. Further,




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 PayPal did not even plead inequitable conduct or serve its invalidity contentions implicating

 conception/reduction to practice until many months later, in February and April 2019.

        Third, PayPal alleges “selective” spoliation. Mot. at 15. But the MediKey was not the

 only device to go missing. 6 More importantly, PayPal’s selective spoliation theory assumes,

 again, that the MediKey would have been unfavorable to IOENGINE, which inference is contrary

 to the available evidence and only permitted once bad faith is established.

 Fourth, PayPal’s complaint of delay and a “cover-up” ignores both that it had not even put

 inequitable conduct or conception/reduction to practice at issue until February/March 2019, and

 that a search was ongoing. See supra § II.E. Upon realizing that he could not locate the MediKey,

 Mr. McNulty searched his workspace and home, spoke with family members, the Chief of

 Rowayton FD, electricians, HVAC professionals, neighbors, and representatives of Eversource,

 and visited two recycling centers (at Rowayton FD’s suggestion). See Ex. 30, at 11-13. By May

 2019 Mr. McNulty believed that he had exhausted his search and the MediKey device was unlikely

 to be found. See McNulty Decl. IOENGINE then began compiling all available data from prior

 inspections and promptly informed PayPal’s counsel. PayPal’s ‘motion to compel the MediKey’

 is a figment; no such motion to compel the MediKey device exists on the docket (rather PayPal,

 through a discovery dispute, sought production of documents). Rather, Mr. McNulty’s extensive

 efforts to locate the missing MediKey rebut any inference of bad faith. 7 See, e.g., Intell. Ventures




 6
   PayPal is incredulous that three devices in an unburned box would have gone missing. See
 Motion, 8-9. But PayPal ignores that the box in which the devices were found in March 2019 was
 not the same box that the devices were in prior to the August 15, 2018 fire. See id.
 7
   PayPal makes much of its supposition that counsel ‘knew’ the MediKey was missing in February,
 although its loss was not discovered until March. Mot. at 8. But counsel’s actual statement was
 “February…or around that time, and that’s when we started trying to collect those devices back
 from our client,” Ex. 31, 101:24-102:6, which was later identified more precisely as March 6th.
 There is nothing nefarious about referring to an approximate date that turns out to be a week early.
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 I LLC v. Check Point Software Techs. Ltd., 215 F. Supp. 3d 314, 342–43 (D. Del. 2014) (“IV’s

 conduct in attempting to locate the CD is inconsistent with a suggestion of bad faith misconduct

 and intentional destruction of evidence.”).

         Fifth, PayPal attempts to spin “bad faith,” out of a mistake: Mr. McNulty admittedly

 confused the two fires in his home, identifying the August 15, 2018 fire as having taken place on

 September 23, 2018, and vice versa. See McNulty Decl., ¶¶ 7.a–f. But there is no doubt that three

 incidents occurred at the McNulty residence in August-September 2018, a downed tree and two

 fires, two of which resulted in firefighters responding. See supra §§ II.B–D. PayPal fails to

 recognize that there were two fire departments involved, and seeks to exploit a mistake about the

 order of two power surges, two resulting fires, both in the same location, both caused by electrical

 issues, both causing damage to surge protectors, both resulting in a response by Eversource, and

 both taking place within weeks of the tree falling on August 7th. Mr. McNulty’s imperfect

 recollection of the precise dates of these events is not indicative of “bad faith.” Further, the correct

 dates are well documented. Bistrian v. Levi, 448 F. Supp. 3d 454, 496 (E.D. Pa. 2020) (declining

 to infer bad faith for an “incorrect statement”).

         Last, as discussed supra in Section II.A., IOENGINE took reasonable steps to preserve the

 MediKey. Subsequent events out of its control do not alter that. See, e.g., Mahaffey v. Marriott

 Int’l, Inc., 898 F. Supp. 2d 54, 61–62 (D.D.C. 2012) (“[A]lthough it is regrettable that important,

 relevant evidence may have been destroyed in the flood, there is no indication that this was

 anything other than an unfortunate accident and, as such, Marriott did not act with the requisite

 culpable state of mind to merit sanctions.”).

         D.      PayPal Cannot Prove Prejudice

         “[A] finding of prejudice requires the non-spoliating party to ‘come forward with

 plausible, concrete suggestions as to what the lost evidence might have been’ and a showing that
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 the loss of this evidence ‘materially affect[ed] the substantial rights of the adverse party and is

 prejudicial to the presentation of the case.’” Citrix Sys., Inc. v. Workspot, Inc., 18-588-LPS, 2020

 WL 5884970, at *7 (D. Del. Sept. 25, 2020). This PayPal has not done.

                1.      The operation of the MediKey and the medikey.exe software were
                        fully documented and preserved by two expert inspections

        PayPal admits that in 2016 the now-unavailable MediKey device was thoroughly inspected

 by expert witnesses for Imation Corp. and IOENGINE, including by Dr. Vijay Madisetti, who

 PayPal has retained as an expert in this case. Indeed, Dr. Madisetti designed the procedure used

 to test the MediKey for the very same purpose that PayPal asserts it would want to test the

 MediKey here—to demonstrate whether it performs as described in Mr. McNulty’s April 2010

 declaration. See Ex. 14, 2-3. That testing included plugging in the MediKey, running the

 medikey.exe software and clicking every available button and option, generating hours of videos

 over 200 photographs, including of every operation and button click, and hundreds of megabytes

 of test data documenting all communications between the MediKey and the connected computer,

 captured using a LineEye USB traffic analyzer (the test device selected by Dr. Madisetti, see Ex.

 14 at 5, and which PayPal agrees is appropriate for these purposes, see D.I. 321, at 5). Ex. Z, filed

 herewith, shows that every operation and button of the MediKey and medikey.exe were tested.

 These extensive data were produced to PayPal more than two years ago. See D.I. 368, Ex. 27.

        PayPal asserts that IOENGINE has criticized Dr. Madisetti’s testing as flawed, and

 therefore cannot rely on it. Mot. at 4-5. But PayPal ignores that the flaw in Dr. Madisetti’s testing

 was not in its design, but in one aspect of its execution. Dr. Madisetti’s assistant failed to follow

 the written inspection procedure precisely, which resulted in crucial communications between the

 devices being missed. See Ex. Y, ¶¶ 22–23. But that error was corrected by Dr. Kevin Butler, who

 followed Dr. Madisetti’s procedure, and also carried out additional tests to assess Dr. Madisetti’s


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 hypotheses. Dr. Butler concluded that the MediKey functioned as described in the April 2010

 Declaration. See id., ¶¶ 21, 72–74. PayPal has retained Dr. Madisetti in this case, and could have

 submitted a declaration in support of its Motion with a description of what tests he was unable to

 carry out previously, or what he would do differently in testing the MediKey today, if it were

 available. PayPal failed to do so. PayPal’s Motion points to no specifics as to any tests that it would

 carry out, any change to Dr. Madisetti’s procedure, or anything it would do differently now, from

 what was previously done by Drs. Madisetti and Butler, of which extensive videos, data captures

 and results are available. Any attempt to do so in Reply would be untimely and improper.

        Just as in Martineza v. Towne Ests. Condo. Owners Ass’n, Inc., the fact that PayPal’s

 retained expert had an opportunity to examine the MediKey and document its functionality refutes

 any prejudice. 12-779-RGA, 2014 WL 2293689, *1–2 (D. Del. May 27, 2014) (“Plaintiff’s experts

 had ample time to examine the railing and in fact did examine the railing. Furthermore, the

 Plaintiff’s experts took pictures of the railing, which may be used in court as a substitute for

 presenting the railing itself.”). Dr. Madisetti examined the MediKey, developed the procedure to

 test it and selected the test equipment, in an attempt to demonstrate exactly what PayPal alleges it

 would use the MediKey for if it were still available. PayPal has not shown beyond mere

 speculation why the data already produced are not a reasonable substitute for the MediKey. See

 Eisenband v. Pine Belt Auto., Inc., 17-8549 (FLW) (LHG), 2020 U.S. Dist. LEXIS 53369, *24

 (D.N.J. Mar. 27, 2020) (no prejudice where defendant “produced a reasonable substitute in the

 form of printed screenshots” and “[p]laintiff’s arguments amount[ed] to mere speculation”);

 CIGNEX, 2019 WL 1118099, *13-14 (“suggestion as to the potential contents of the lost email”

 was “speculation” and “insufficient evidence of prejudice”).




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                2.      “Copying” the medikey.exe software is a red herring

         PayPal claims that that the failure to “copy” the medikey.exe software, is prejudicial. But

 PayPal ignores that copying medikey.exe would not have preserved the MediKey device’s

 functionality, which depends on firmware running on the MediKey processor, and so would not

 evidence anything about the April 2010 Declaration or inequitable conduct. See, e.g., D.I. 368, Ex.

 5, ¶10 (“[firmware] program running on the [MediKey] processor), ¶11 (firmware “executed by

 the [MediKey] processor”), ¶¶11.a-11.c, ¶12.b (executing firmware “to issue an instruction”).

 PayPal does not even argue that extracting the MediKey’s firmware would have been a reasonable

 thing to do.




         E.     PayPal’s Reliance on the MediKey’s Relevance is Speculative

                1.      PayPal’s inequitable conduct narrative is mistaken

         Although PayPal bears the burden of proof on inequitable conduct, PayPal did not submit

 an expert report addressing inequitable conduct in this case. See D.I. 254, 3 (Nov. 19, 2021

 deadline for opening expert reports). Instead, relying entirely on unproven allegations by Imation

 in IOENGINE LLC v. Imation Corp., 14-1572-GMS (D. Del.), PayPal asserts that Mr. McNulty’s

 April 2010 Declaration regarding a MediKey device overcame a final rejection, leading to the

 issuance of U.S. Patent 7,861,006 (the ’006 Patent”). This is wrong. The Declaration did not

 overcome any rejection or lead to the allowance of claims. To the contrary, after receiving the

 Declaration and even after Mr. McNulty demonstrated the MediKey, the Examiner continued

 rejecting the presented claims, and only allowed claims after two rounds of further substantive

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 amendments. Ex. CC, at 2–4. The Examiner’s Amendment specifies the bases for allowance, but

 neither it nor the Allowance mention the Declaration or MediKey—not as a basis for allowance,

 nor to exclude any of the “prior art of record” (including post-December 2002 art). 8

        Imation’s motion was premised on the fallacy that after receiving the Declaration, the

 Examiner no longer issued rejections over post-December 2002 art. IOENGINE debunked this,

 completely gutting Imation’s motion. Ex. CC at 4. 9 PayPal insinuates that IOENGINE settled the

 Imation case to avoid a ruling on Imation’s motion. The opposite is true: Having received an

 adverse jury verdict awarding millions of dollars, and in the face of evidence showing that its

 inequitable conduct motion would fail, Imation settled with IOENGINE before its post-trial

 motions were decided. See IOENGINE LLC v. Imation Corp., 14-01572, at D.I. 268 (dismissal).

                2.     MediKey functionality is not relied on for diligence

        PayPal contends that




            . See id. at 14-16. While IOENGINE relies on Mr. McNulty’s efforts to develop all of

 his prototypes, including the MediKeys, to show diligence, it does not rely on any specific

 MediKey with any particular functionality. See id., 14-17 (


 8
   Moreover, the ’006 Patent is not at issue here and was not at issue in the Imation case. And
 neither PayPal nor Imation substantiated any claim of “infectious” unenforceability.
 9
   It is not even clear that the MediKey Imation relied on for inequitable conduct and that PayPal
 accuses IOENGINE of spoliating was the subject of the April 2010 Declaration: In April 2010 Mr.
 McNulty had two MediKeys, see Ex. B, 80:8-10, one of which was provided to U.S. National
 Nuclear Security Agency (“NNSA”) and Ukrainian experts to attempt to extract the firmware for
 use in an NNSA project. Ex. B, 73:2-12; see also id., 72:13-74:17, 77:15-78:12; See Ex. AA
 (IOENGINE013924) (NNSA press release).
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                           ). In addition, IOENGINE’s diligence is supported by efforts to develop

 approximately 60-80 other—non-MediKey—prototypes (many of which were imaged by PayPal

 in discovery). See id. at 14-18. The collective efforts to create these prototypes, corroborated by

 contemporaneous documents, show Mr. McNulty’s diligence. Whatever PayPal could have

 learned about the functionality of the particular MediKey that is the subject of its Motion—beyond

 what is shown in the extensive record of its prior testing—is irrelevant to diligence, particularly

 since IOENGINE does not rely on the MediKey as an actual reduction to practice.

        F.      PayPal is Not Entitled to An Adverse Inference

        PayPal requests sanctions under Rule 37(e)(2) (adverse inference, adverse instruction),

 which are severe sanctions “only” available on proof of the specific “intent to deprive” set out in

 the Rule. McAdams v. U.S., 297 F. App’x 183, 187 (3d Cir. 2008) (“An adverse negative inference

 is an extreme remedy.”); Robinson v. Beckles, 10-362-SRF, 2019 WL 2453776, at *2 (D. Del. June

 12, 2019) (same). As discussed above, PayPal has not proven that IOENGINE intentionally

 destroyed evidence or acted with bad faith, much less with the specific intent to deprive PayPal of

 the MediKey. See supra § IV.C. The cases that PayPal relies on are inapposite. 10 No case supports

 adverse inference sanctions where, as here, evidence is lost due to inadvertence or accident.

 Taylor, 2021 WL 4171423, at *4; Charcalla, 2017 WL 2720278, at *3.




 10
    See Miller, 2019 WL 2150660, at *12–13 (intent to deprive where defendant allowed destruction
 of emails and computers and “fabricated and back-dated meeting minutes and attempted to pass
 them off as authentic”); DVComm, LLC v. Hotwire Commc’ns, LLC, No. 14- 5543, 2016 WL
 6246824, at *4-5, *7 (E.D. Pa. Feb. 3, 2016); (intent to deprive where plaintiff “‘double deleted’
 and permanently destroyed” emails); Goldrich v. City of Jersey City, No. 15-885 (SDW)/(LDW),
 2018 WL 4492931, at *9 (D.N.J. Jul. 25, 2018) (no intent to deprive, even though plaintiff defied
 Court order and misrepresented produced laptop); O’Berry v. Turner, 15-64-HL, 2016 WL
 1700403, at *2–3 (M.D. Ga. Apr. 27, 2016) (sophisticated party (Archer Daniels Midland) with
 no document retention policy, printed a single paper copy of ESI, allowed ESI to be deleted,
 allowed unfettered access to the copy, and did not contact the custodian for 2.5 years).
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        G.      PayPal’s Proposed 37(e)(1) Remedies Are Inappropriate

 Assuming that Rule 37(e)(1) applies and PayPal could prove prejudice, which it has not, the Court

 “may order measures no greater than necessary to cure the prejudice.” FRCP 37(e)(1). PayPal’s

 request for a blanket order precluding any mention of the MediKey goes far beyond any possible

 prejudice, as even the cases PayPal relies on show. See Charlestown Cap. Advisors, LLC v. Acero

 Junction, Inc., 337 F.R.D. 47, 69 (S.D.N.Y. 2020) (denying request for “overly harsh” preclusion

 of “testimony and other evidence wholly unaffected by the spoliation”); see also, Fuhs v.

 McLachlan Drilling Co., No. 16-376, 2018 WL 5312760 *14 (W.D. Pa. Oct. 26, 2018) (denying

 Rule 37(e)(1) sanctions). PayPal acts as if no evidence about the MediKey exists. In reality,

 IOENGINE produced all of the data from MediKey testing designed by Dr. Madisetti. And PayPal

 has not explained what additional or different testing it would do. IOENGINE is not relying on the

 MediKey as an actual reduction to practice. But there is no reason to preclude all testimony about

 the fact of its development and information apparent from Drs. Madisetti’s and Butler’s testing.

        PayPal requests its fees and costs to remedy the prejudice of “pursuing discovery” of the

 MediKey. Mot. at 20. But PayPal has not demonstrated any such pursuit, nor how such relief would

 cure any prejudice. Monetary sanctions may be appropriate in a case where a party incurs costs,

 e.g., in obtaining discovery from another source. But here, IOENGINE proactively produced all

 of the data from the prior MediKey inspections at no cost to PayPal, saving PayPal the cost of

 pursuing that discovery. The only appropriate remedy here would be to instruct IOENGINE—had

 it not already done so—to produce the videos, images, data, and reports documenting the prior

 testing of the MediKey, and to allow the parties to use those materials in this case. IOENGINE

 already proactively produced that evidence years ago avoiding any possible prejudice to PayPal.

 V.     CONCLUSION

        IOENGINE respectfully requests that PayPal’s Motion for Spoliation Sanctions be denied.

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  Dated: December 21, 2021              SMITH, KATZENSTEIN & JENKINS, LLP

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